                                                                                Case 3:05-cr-00167-WHA Document 367 Filed 05/18/06 Page 1 of 6



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5
                                                                          6                                 IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9
                                                                         10   UNITED STATES OF AMERICA,                                     No. CR 05-0167 WHA
                                                                         11
United States District Court




                                                                                               Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                          ORDER RE DISCOVERABILITY
                                                                         13                                                                 OF LOCAL POLICE
                                                                              EDGAR DIAZ, a/k/a “Hook,” RICKEY                              REPORTS UNDER RULE 16
                                                                         14   ROLLINS, a/k/a “lil Rick,” DON JOHNSON,                       AND SCHEDULE FOR
                                                                              a/k/a “Skanoodles,” a/k/a “Noodles,”                          FURTHER SUBMISSIONS
                                                                         15   ROBERT CALLOWAY, a/k/a “Papa,”
                                                                              and DORNELL ELLIS, a/k/a “D Map,”
                                                                         16                    Defendants.
                                                                         17                                                   /

                                                                         18             This order holds (i) that local San Francisco police investigative reports in the
                                                                         19   possession, custody or control of the United States Attorney’s Office are “documents”
                                                                         20   within the federal meaning of Rule 16(a)(1)(E) and (ii) that such reports fall within the federal
                                                                         21   “work-product” exemption from discovery in Rule16(a)(2) only if the report was prepared in
                                                                         22   connection with investigating or prosecuting the subject case by police officers having a
                                                                         23   relationship to the federal prosecutors substantially equivalent to that of federal investigative
                                                                         24   agents.
                                                                         25             In this pending gang prosecution, the United States Attorney’s Office has disclosed
                                                                         26   many thousands of pages of local police reports to the defense. The names of all witnesses to
                                                                         27   various alleged murders and other crimes, however, have been redacted — even as to witnesses
                                                                         28   wholly or largely exculpatory to one or more defendants. (No Form 302s have been disclosed.)
                                                                                Case 3:05-cr-00167-WHA Document 367 Filed 05/18/06 Page 2 of 6



                                                                          1   The government insists that all civilian witnesses’ names be held secret until much later in the
                                                                          2   proceedings. Although a genuine witness-security concern has been shown as to at least some
                                                                          3   witnesses, the need for effective pretrial preparation by the defense may require that other
                                                                          4   witnesses’ identities be unredacted and provided to counsel and investigators under a protective
                                                                          5   order, at least as to witnesses whose safety is not shown to be at risk. In some instances, the
                                                                          6   Court has found that more than names have been redacted without any justification to protect
                                                                          7   witnesses. The government responds that its production of the local police reports has been
                                                                          8   voluntary and gratuitous and not pursuant to any obligation under Rule 16; the government
                                                                          9   asserts an exclusive and unilateral power to decide whether and how much to disclose of the
                                                                         10   police reports.
                                                                         11          If, however, such reports are “documents” under Rule 16(a)(1)(F) and not exempt from
United States District Court
                               For the Northern District of California




                                                                         12   discovery by Rule 16(a)(2), then the government has an obligation to produce them under
                                                                         13   Rule 16, at least to the extent they are in the possession of the United States Attorney, and the
                                                                         14   government may not unilaterally decide the scope of redactions. Instead, the Court would
                                                                         15   decide the scope of redactions under Rule 16(d) relating to protective orders.
                                                                         16          Rule 16(a)(1)(E) provides (emphasis added):
                                                                         17                     Documents and Objects. Upon a defendant’s request, the
                                                                                                government must permit the defendant to inspect and to copy or
                                                                         18                     photograph books, papers, documents, data, photographs, tangible
                                                                                                objects, buildings or places, or copies or portions of any of these
                                                                         19                     items, if the item is within the government’s possession, custody,
                                                                                                or control and:
                                                                         20
                                                                                                       (i) the item is material to preparing the defense;
                                                                         21
                                                                                                       (ii) the government intends to use the item in its
                                                                         22                     case-in-chief at trial; or
                                                                         23                            (iii) the item was obtained from or belongs to the
                                                                                                defendant.
                                                                         24
                                                                                     The word “documents” in the above excerpt must be deemed to include investigative
                                                                         25
                                                                              reports of law enforcement officers. First, to rule otherwise would render the exemption in
                                                                         26
                                                                              Rule 16(a)(2) superfluous. It exempts “reports, memoranda, or other internal government
                                                                         27
                                                                              documents.” The exemption would be unnecessary if “documents” in Rule 16(a)(1)(E) were
                                                                         28
                                                                              somehow limited to transactional documents. Second, the decisions on the scope of the

                                                                                                                                 2
                                                                                Case 3:05-cr-00167-WHA Document 367 Filed 05/18/06 Page 3 of 6



                                                                          1   work-product exemption in Rule 16(a)(2) necessarily proceed on the assumption that
                                                                          2   Rule 16(a)(1)(E) covers local investigative police reports in the possession of the federal
                                                                          3   prosecution. These decisions are referenced below. Third, the plain meaning of “documents”
                                                                          4   includes “reports.”
                                                                          5          In light of the broad scope given the term “documents,” it would be anomalous to carve
                                                                          6   out local police reports. see Timothy M. Hall, Annotation, Books, Papers, and Documents
                                                                          7   Subject to Discovery by Defendant Under Rule 16 of the Federal Rules of Criminal Procedure,
                                                                          8   108 A.L.R. Fed. 380 (1992); United States v. Cedano-Arellano, 332 F.3d 568, 571 (9th Cir.
                                                                          9   2003). The only decision holding the other way seems to be United States v. Jones, 149 F.R.D.
                                                                         10   139, 141 (N.D. Ohio 1993). No explanation was given in that decision. Jones will not be
                                                                         11   followed in this order. Given that local police reports are “documents,” the issue becomes
United States District Court
                               For the Northern District of California




                                                                         12   whether they are within the work-product exemption.
                                                                         13          The federal work-product exemption is found in Rule 16(a)(2):
                                                                         14                  Information Not Subject to Disclosure. Except as Rule 16(a)(1)
                                                                                             provides otherwise, this rule does not authorize the discovery or
                                                                         15                  inspection of reports, memoranda, or other internal government
                                                                                             documents made by an attorney for the government or other
                                                                         16                  government agent in connection with investigating or prosecuting
                                                                                             the case. Nor does this rule authorize the discovery or inspection
                                                                         17                  of statements made by prospective government witnesses except
                                                                                             as provided in 18 U.S.C. § 3500.
                                                                         18
                                                                              The phrase “Attorney for the government” is defined in Rule 1. It means:
                                                                         19
                                                                                             “Attorney for the government” means:
                                                                         20
                                                                                                    (A) the Attorney General or an authorized assistant;
                                                                         21
                                                                                                    (B) a United States attorney or an authorized assistant;
                                                                         22
                                                                                                 (C) when applicable to cases arising under Guam law, the
                                                                         23                  Guam Attorney General or other person whom Guam law
                                                                                             authorizes to act in the matter; and
                                                                         24
                                                                                                 (D) any other attorney authorized by law to conduct
                                                                         25                  proceedings under these rules as a prosecutor.
                                                                         26          “Attorney for the government” does not include local district attorneys (except when
                                                                         27   they are “authorized by law” to prosecute federal crimes). The word “government,” moreover,
                                                                         28   seems to be used consistently throughout the rules to refer to the federal government. Thus, the


                                                                                                                                3
                                                                                Case 3:05-cr-00167-WHA Document 367 Filed 05/18/06 Page 4 of 6



                                                                          1   phrase “by . . . other government agent” refers to federal agents. Local police are not
                                                                          2   federal agents. In some circumstances, however, they may be deemed federal agents, such as,
                                                                          3   for example, when they are officially detailed to work for a federal enforcement agency.
                                                                          4          The phrase “in connection with investigating or prosecuting the case” has been
                                                                          5   construed by the United States Supreme Court to mean the subject prosecution. United States v.
                                                                          6   Armstrong, 517 U.S. 454, 462–63 (1996); see also Cedano-Arellano, 332 F.3d at 571. This
                                                                          7   means that police reports prepared for some other case would, at all events, be unprotected by
                                                                          8   the work-product exemption in Rule 16(a)(2).
                                                                          9          In light of this authority, this order holds that local police investigative reports are not
                                                                         10   protected from disclosure by Rule 16(a)(2) unless the police officers who prepared the reports
                                                                         11   were working on the case for the federal prosecutors in a way substantially equivalent to the
United States District Court
                               For the Northern District of California




                                                                         12   way federal investigators do. See United States v. Green, 144 F.R.D. 631, 641 (W.D.N.Y.
                                                                         13   1992); United States v. DeBacker, 493 F. Supp. 1078 (W.D.N.Y. 1980); United States v. Gatto,
                                                                         14   729 F. Supp. 1478 (D.N.J. 1989).
                                                                         15          This order recognizes that some courts have held the other way, i.e., have held that all
                                                                         16   local police investigative reports are exempt without regard to how they came to be in the hands
                                                                         17   of the federal prosecutors. E.g., United States v. Cherry, 876 F. Supp. 547, 550 (S.D.N.Y.
                                                                         18   1995); United States v. Jones, 1986 WL 275 (S.D.N.Y. 1986). Those decisions, however, came
                                                                         19   before the Supreme Court’s decision in Armstrong. To the extent any rationale was stated in
                                                                         20   those decisions, it is doubtful whether it survived after Armstrong. Even without Armstrong,
                                                                         21   however, this Court is persuaded that there is no blanket rule exempting from disclosure local
                                                                         22   police reports that wind up in the hands of federal prosecutors.
                                                                         23          The government, of course, must be given an opportunity to submit declarations proving
                                                                         24   up the foundation for any claim of privilege. As with any privilege, the burden is on the
                                                                         25   government to prove its assertion of privilege. One way it might do so would be to demonstrate
                                                                         26   that a particular report (or a class of reports) was prepared by a police officer specifically
                                                                         27   detailed to work under the supervision of federal authorities on this case. There may be other
                                                                         28   ways as well. On the other hand, if all that happened was that the local police opened their


                                                                                                                                4
                                                                                Case 3:05-cr-00167-WHA Document 367 Filed 05/18/06 Page 5 of 6



                                                                          1   extant files on their own investigations to federal authorities, it would be doubtful that the
                                                                          2   federal work-product privilege could apply. The government will be granted an opportunity to
                                                                          3   prove up, report by report, the foundation for invoking the privilege of Rule 16(a)(2). Its
                                                                          4   redactions and memorandum must be filed by JUNE 7, 2006. This should be filed and served in
                                                                          5   the normal way as part of the public record except, if at all, such portions as would actually
                                                                          6   reveal witness identities. Any opposition must be filed by JUNE 13. The Court will then decide
                                                                          7   whether a hearing is necessary.
                                                                          8          On the same schedule, the parties shall brief and supply appropriate declarations on the
                                                                          9   issue of waiver, i.e., even if some or all of the redacted reports were privileged, whether any
                                                                         10   such privilege was waived by the production of the redacted versions, such that the redacted
                                                                         11   portions no longer enjoy a privilege.
United States District Court
                               For the Northern District of California




                                                                         12          The government’s work-product rationale raises a corollary Brady issue. Any
                                                                         13   work-product rationale necessarily implies that all reports to which the rationale extends were
                                                                         14   prepared for federal use in the same way FBI reports are prepared. By the same rationale, in
                                                                         15   turn, the federal prosecutors must be charged with an affirmative duty to review that universe of
                                                                         16   reports for Brady material and to disclose such Brady material in time for effective use. This is
                                                                         17   true even for reports not in the immediate possession or custody of the federal prosecutors, for
                                                                         18   the whole point of the federal work-product exemption in the first place is that the federal
                                                                         19   authorities have a right of access. Put differently, to the extent that the government asserts the
                                                                         20   benefit of the exemption as to a class of material, it must also do the homework required by
                                                                         21   Brady as to that same class of material. All such materials, no matter where located, must be
                                                                         22   reviewed by the federal prosecutors — and must be reviewed in a timely manner.
                                                                         23          All of the foregoing having been said, it remains true that a protective order may still be
                                                                         24   appropriate under Rule 16(d) — even for any reports eventually held unprivileged. As stated,
                                                                         25   the government has demonstrated a genuine witness-security concern as to at least some
                                                                         26   witnesses. Briefing is already in process to vet that issue on a witness-by-witness basis.
                                                                         27   A process is also underway to vet a proposed form of protective order under which certain
                                                                         28   less-sensitive witness names might be disclosed, for the time being, only to counsel and their


                                                                                                                               5
                                                                                Case 3:05-cr-00167-WHA Document 367 Filed 05/18/06 Page 6 of 6



                                                                          1   investigators. This order, therefore, does not mean, by itself, that redactions will be undone.
                                                                          2   It does mean that the government does not have a blanket right to treat any and all local police
                                                                          3   reports as work product under Rule 16(a)(2).
                                                                          4          For the sake of completeness, this order will repeat that the Jencks Act does not cover
                                                                          5   police reports or Form 302s that merely summarize statements made by potential witnesses.
                                                                          6   The Jencks Act would cover such summaries only if the witness adopted or approved the
                                                                          7   statement. See 18 U.S.C. 3500(e)(1)–(2). Therefore, the Court expects that the vast bulk of
                                                                          8   local police reports and Form 302s do not qualify as Jencks Act statements such that they may
                                                                          9   be withheld until the witness testifies.
                                                                         10          Finally, this order notes that the disclosed material included a police officer affidavit
                                                                         11   provided to a state court. In no way could it be deemed to be an investigative internal report.
United States District Court
                               For the Northern District of California




                                                                         12   So too for like items. But, as above, redactions will be allowed (as indicated at an earlier
                                                                         13   hearing) to protect witness security under Rule 16(d).
                                                                         14
                                                                         15          IT IS SO ORDERED.
                                                                         16
                                                                         17   Dated: May 18, 2006.
                                                                                                                                WILLIAM ALSUP
                                                                         18                                                     UNITED STATES DISTRICT JUDGE
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28


                                                                                                                               6
